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% A 0 245B         (Rev. 06105) Judgment in a Criminal Case             #367
                   Sheet I




                            SOUTHERN                                  District of                                   ILLINOIS

               UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                   v.
                     RYBURN K. O'BANNON
                                                                            Case Number:           4:05CR40065-002-JPG

                                                                            USM Number: 06860-025
                                                                             Alan C. downen
                                                                            Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count@)                 1 of the Superseding Indictment                                          h- 4


   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
                                                                                                    ,Q,
                                                                                                    "O0?lQk ,.
                                                                                                               OR#,
                                                                                                                    ,. /> .
                                                                                                                           -'   n
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:                                                                      *<(/@. 0,-
                                                                                                                                    rr


Title & Section
  ,, .',,.-'   -                        Nature of Offense                                                      Offense Ended                ('uun(

 @@.a.
 ,.    846
                                  * .
                            , .;. .,.:..
                                      . , ., .,Conspiracy to:~anufacture, Dktiibute and PoswrusrNi         .. ;   ,@/zoos :". ':,.   * .
                                                                                                                                               "3.lc:'
                                                                                                                                              I?& -.




       The defendant is sentenced as provided in pages 2 through                10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                     is      are dismissed on the motion of the United States.

         It 1s ordered that the defendant must not~fythe Unlted States attorney for this district w~thln30 da s of any change of name, rc~ldcnce,
or mailing adhcsb until all fines, rcstltution, costs, and speci31 assessments lmposed by thlb~udgn~e"t are iufiy paid If ordered to pay restitution.
the defendant musl nutlty the court and C'nlted Statcs attorney of matenal changes in economlc cnaumstances.




                                                                             J. Phil Gilbert                                 District Judge
                                                                            Name of Judge                                   Title ofludge


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                                                                                                          c/
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              Sheet 2 Imprisonment
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 DEFENDANT: RYBURN K. O'BANNON
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Pnsons to be imprisoned for a
 total term of:

  125 months on Count 1 of the Superseding Indictment. (This is not a departure, but the Court is awarding the defendant 10
  months credit for time Sewed on a related state case from Saline County, IL case number 04CF79. Said sentence is to run
  concurrent to the Saline County. IL case.

      d The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for senice of sentence at the institution designated by the Bureau of Pnsons:
                before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.
                                                                                                                i


                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised Release
                                                                                                           Judgment-Page      3     of          10
DEFENDANT: RYBURN K. O'BANNON
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                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  3 years on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mit to one drug test withm 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determmed by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
 B( The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
 13 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      If t h ~ sudgmcnt lniposes a fine or rr.stlNtlon, i t i$ a condit~onoisupcrv~sedrelease that the dct'end3nt pdy in accordance u ith thc
 Suhcrlulc ofl~aymentssheet of t h ~ judgment
                                      s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, dbbibute, or a w i s t e r any
           controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a physmlan;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
       felony, unless granted permission to do so by the progation oficer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-hyo hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,persona! histoy or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compl~ancewith such notification requrement.
A 0 245B    Case
           (Rev.    4:05-cr-40065-JPG
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           Sheet 3C - Supervised Release                        #370
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence,andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
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           (Rev. 06/05) Judgment in a Criminal Case   Document 116 Filed 12/27/06                          Page 5 of 6       Page ID
           Sheet 5 - CrimGal Monetary Penalties                 #371
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                       -
                                                                        Fine                                   Restitution
 TOTALS            $ 100.00                                           $ 500.00                               $ 0.00



     The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the pnorlty order or percentage payment columnxelow. However, pursuant to 18
     before the United States is pald.
                                                                                               Js.8.
                                                                                              5 3664$), all nonfederal vlctlms must be pald

 Name of Pavee                                                            Total*               Restitution Ordered        Priority or Percentage




 TOTALS                               $                       0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the        @f fme           restitution.
           the interest requirement for the           fine           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprll23, 199%.
A 0 2458      Case
           (Rev. 06/05) 4:05-cr-40065-JPG
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           Sheet 6 - ~ch&le of Payments                         #372
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Qf Lump sum payment of $                                due immediately, balance due

                 not later than                                  ,or
           IJ    in accordance               C,        D,         E, or         F below; or

 B         Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     @ Special instructions regarding the payment of crirmnal monetary penalties:
            While on Supervised Release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater toward his fine.




                                                iith~sjudgmcntln~poscsinipr~sonmcnt, a mcnt of criminal monetary pcnaltlcs 1s duc dunn
 Unless the court has express1 ordered orhcm~~sc,
                               Y
 ~mpnso-ent. All crimlna moneta penaloes, except those payments made througl tie Federal Bureau of Prisons' lnmte i.lnancl$
 Rchponslbility Program, arc made to xr.slcrk of thc court

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall bc applicd in the follow~ngorder: ( I ( abscsment, (2) restltutlon principal, ( 3 ) rest~tutioninterrst, (4) fine pr~nc~pal,
 (5) fine intert.31, (6) community rcstltutlon, (7) pen3 tles. and (8) co~th,~ncIuJ~ng
                                                                                    cost of prosccut~onand court costs.
